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         Exhibit 19
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JANE DOE #1, et al.,                            )
                                                )
       Plaintiffs,                              )
                                                )
               v.                               )            No. 3:21-cv-01211
                                                )
LLOYD AUSTIN, III, in his official              )
capacity as Secretary of Defense, et al.,       )
                                                )
       Defendants.                              )
                                                )




         DECLARATION OF LIEUTENANT COLONEL NEKITHA M. LITTLE

I, Nekitha M. Little, hereby state and declare as follows:

1.     I am a Lieutenant Colonel in the United States Air Force currently assigned as the Deputy

Division Chief, Military Compensation Policy, Force Management for Military Personnel (A1P).

I have been in this position since approximately August 1, 2019. As a part of my duties, I am

responsible for developing and interpreting policy related to military pay and compensation

guidance, which includes leave policy, to ensure consistency with Congressional statutes, the

Office of the Secretary of Defense and Department of the Air Force instructions, enhance the Air

Force mission, and improve the quality of life for Airmen and Guardians.

2.     After the Secretary of Defense mandated the COVID-19 vaccine for all service members,

the Department of the Air Force developed and promulgated a departmental-wide

implementation guide, which included guidance on administrative exemptions available. As

annotated on the                                                                 exemption to the

vaccine mandate. I am familiar with this terminal leave policy as it falls within the scope of my
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professional duties. In accordance with Air Force Guidance Memorandum to Department of Air

Force Instruction 36-3003, Military Leave Program, 24 August 2020, terminal leave is defined



                                                                          erminal leave is not

automatic, and members must request the leave from their unit commanders via the LeaveWeb

system which is the system of record for all leave requests. Once a member is on terminal leave,

they are no longer considered on active duty, hence the acceptance of this as an administrative

exemption as referenced in 48-110, Immunizations and Chemoprophylaxis for the Prevention of

Infectious Diseases, 16 February 2018. Other than a religious accommodation under DAFI 52-

201, Religious Freedom in the Department of the Air Force, 23 June 2021, I am not aware of any

additional administrative exemptions available.

3.     I make this declaration in my official capacity as the Deputy Division Chief, Military

Compensation Policy, and based upon my personal knowledge and upon information that has

been provided to me in the course of my official duties.

4.     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct. Executed this 20th day of October 2021.




                                                      NEKITHA M. LITTLE, Lt Col, USAF
                                                      Deputy Division Chief
                                                      Military Compensation Policy

Attachment:
Excerpt from the                                           -19 Mandatory Vaccination




                                                  2
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                      CONTROLLED UNCLASSIFIED INFORMATION


                                            Chapter 5

                                 ADMINISTRATIVE ISSUES


5.1. Exemptions.

   5.1.1. Guidance for religious accommodations is found in DAFI 52-201. The MAJCOM,
   FLDCOM, DRU or FOA commander is the approval and denial authority for religious
   exemptions. AF/SG is the appellate authority for any religious vaccine exemption requests.

   5.1.2. Administrative and medical exemptions are handled and coded IAW AFI 48-110.

       5.1.2.1. The only administrative exemption is for members on approved terminal leave.

          5.1.2.1.1. Official documentation from the Squadron Commander including the
          administrative code and duration (specific date, temporary, indefinite) of exemption
          will be presented to the Immunization Clinic. Validated administrative exemptions
          will then be entered into ASIMS by the Immunization Clinic staff.

       5.1.2.2. Medical Exemptions may be authorized under AFI 48-110. See paragraph 4.5.1.
       for procedures.

5.2. Healthcare Access Guidelines. At the time of immunization, all vaccine recipients will be
provided information on potential adverse events.

   5.2.1. Whenever an individual presents to an MTF expressing a belief that the condition for
   which the treatment is sought is related to an immunization received in a DoD clinic, they are
   authorized initial or emergency care to evaluate and treat an actual or perceived adverse
   reaction. Care may also be provided by a civilian medical facility in the following
   circumstances: an individual believes the situation to be an emergency and the civilian
   hospital is the nearest facility or an individual is on leave status, TDY or in a non-duty status
   (ARC personnel) and there are no MTFs within 50 miles. Pre-approval may still be required
   depending on the specific circumstances when not an emergent situation. Refer to AFI 48-
   110 for additional guidance.

      5.2.1.1. ARC Personnel. If a member suffers an adverse reaction from a DoD-directed
   immunization while in an approved duty status, it is an LOD condition.

5.3. Refusal Management.

   5.3.1. Military Members. A commander ordering a military member to take the COVID-19
   vaccine constitutes a lawful order. However, the member’s commander may exercise his or
   her discretion in handling refusal cases. When issuing an order to a military member to take
   the COVID-19 vaccine, if an individual indicates he or she is going to refuse the COVID-19
   vaccination or has initially refused the vaccination the following approach should be used:
